
HAMITER, Justice.
This case was consolidated, argued and submitted with No. 43,336, on the docket of this court and entitled Texas Gas Transmission Corporation v. Broussard, 234 La. 751, 101 So.2d 657.
For the reasons assigned in that cause the judgment appealed from herein is set aside insofar as it awards damages to the defendant (this does not include the awards for the value of the strip of land on which the right of way exists or the appraisal, engineering and witness fees) and the case is remanded for further proceedings according to law and consistent with the views hereinabove expressed. In all other respects the judgment is affirmed. Costs of this appeal shall be paid one-half by appellant and one-half by appellee.
FOURNET, C. J., and SIMON, J., concur in the decree.
